     Case 2:23-cv-01939-WBS-AC Document 19 Filed 10/06/23 Page 1 of 8


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12

13
                           UNITED STATES DISTRICT COURT
14
                          EASTERN DISTRICT OF CALIFORNIA
15
                                    SACRAMENTO DIVISION
16

17
      X CORP.,                                No. 2 : 23-CV-01939-WBS-AC
18
                     Plaintiff,
19
            v.                                AFFIDAVIT OF JOEL KURTZBERG
20                                            IN SUPPORT OF X CORP.' S MOTION
      ROBERT A. BONTA, Attorney               FOR PRELIMINARY INJUNCTION
21    General of California, in his
      official capacity,
22
                     Defendant.
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      AFFIDAVIT OF JOEL KURTZBERG            1
     Case 2:23-cv-01939-WBS-AC Document 19 Filed 10/06/23 Page 2 of 8


 1   Joel Kurtzberg,          being duly sworn, deposes and states as follows:

 2           1.     I am a partner of the law firm Cahill Gordon & Reindel

 3   LLP, attorneys for X. Corp in the above-captioned action.                                 I am a

 4   licensed member of the Bar of the State of New York and admitted

 5   pro hac vice to appear before this Court in the above-captioned

 6   action.

 7           2.     I    am   submitting        this        affidavit     in     connection         with

 8   Plaintiff's         Motion    for   Preliminary          Injunction        to   put   copies     of

 9   certain documents before the Court that are referenced in X Corp.'s

10   motion papers.

11           3.     Annexed as Exhibit 1 is a true and correct copy of the

12   Motion to Dismiss in Minds,                Inc.,       et al. v. Bonta, No. 23-cv-2705

13   (ECF 23-1)         (C.D. Cal. May 25,       2023).

14           4.     Annexed       as   Exhibit    2     is    a    true   and    correct     copy     of

15   California Assembly Bill No. 587, which is codified in law at Cal.

16   Bus.    & Prof. Code §§ 22675-22681.

17           5.     Annexed as Exhibit 3 is a true and correct copy of Section

18   230 of the Communications Decency Act                        (47 U.S.C. § 230).

19           6.     Annexed as Exhibit 4 is a true and correct copy of the

20   press    release      Governor Newsom Signs Nation-Leading Social Media

21   Transparency Measure, Office of Governor Gavin Newsom                                 (Sept.    13,

22   2022),       available       at   https://www.gov.ca.gov/2022/09/13/governor-

23   newsom-signs-nation-leading-social-media-transparency-measure/

24   (last visited Oct.           6,   2023).

25
     AFFIDAVIT OF JOEL KURTZBERG                        2
     Case 2:23-cv-01939-WBS-AC Document 19 Filed 10/06/23 Page 3 of 8


 1            7.      Annexed as Exhibit 5                is a true and correct copy of the

 2   California Assembly Committee, on Judiciary Committee Report,                                             2021-

 3   22 Sess.         (AB 587), Apr.       27,   2021.

 4            8.      Annexed as Exhibit 6 is a true and correct copy of the

 5   California Assembly Committee                    on        Privacy and Consumer                   Protection

 6   Report,         2021-22 Sess.     (AB 587), Apr.                 22,    2021.

 7            9.      Annexed    as    Exhibit        7     is        a    true        and    correct    copy       of

 8   California Government Code §§ 11180-81                                 (Cal.      Gov't Code §§          11180-

 9   81) .

10            10.     Annexed    as    Exhibit        8    is    a        true    and        correct   copy    of    X

11   Corp's        Terms of Service         (effective Sept.                     29,    2023),     available at

12   https://twitter.com/en/tos                  (last visited Oct.                     6,    2023).

13            11.      Annexed as Exhibit 9 is a true and correct copy of the

14   California Assembly Floor Analysis,                              2021-22          Sess.     (AB   587),   Apr.

15   28,     2021.

16            12 .     Annexed as Exhibit 10 is a true and correct copy of the

17   California Assembly              Floor Analysis,                 2021-22          Sess.     (AB   587),   Aug.

18   24,     2022.

19            13.      Annexed as Exhibit 11 is a true and correct copy of the

20   National          Institute      of    Health          Gender            Pronouns           Resource,       The

21   Importance          of     Gender      Pronouns              &        Their         Use     in     Workplace

22   Communications, U.S.             Department of Health and Human Services                                  (Jan.

23   2022) ,       available    at https://dpcpsi.nih.gov/sgmro/gender-pronouns-

24   resource         (last visited Oct.         6,       2023).

25
     AFFIDAVIT OF JOEL KURTZBERG                            3
     Case 2:23-cv-01939-WBS-AC Document 19 Filed 10/06/23 Page 4 of 8


 1         14 .       Annexed as Exhibit 12 is a true and correct copy of the

 2   Bloomberg Law article Fight Over Transgender Pronouns at Work Faces

 3   Muddy Legal Waters, Khorri Atkinson                       (Apr.   13,   2023),   available at

 4   https://news.bloomberglaw ■com/daily-labor-report/fight-over-

 5   transgender-pronouns-at-work-faces-muddy-legal-waters                                     (last

 6   visited Oct.         6, 2023).

 7         15.        Annexed as Exhibit 13 is a true and correct copy of the

 8   article      A    Guide     to Recognizing       When       Anti-Israel      Actions Become

 9   Antisemitic,              American    Jewish              Committee,        available        at

10   https://www.ajc.org/sites/default/files/pdf/2021-

11   10/A%20Guide%20to%20Recognizing%20When%20Anti-

12   Israel%20Actions%2 0Become%2 0Antisemitic .pdf                      (last visited Oct.       6,

13   2023).

14         16.        Annexed as Exhibit 14 is a true and correct copy of the

15   article      Is    Criticism      of Israel      Antisemitic?,           Anne    Frank   House,

16   available                                                                                    at

17   https://www.annefrank.org/en/topics/antisemitism/all-criticism-

18   israel-antisemitic/           (last visited Oct.            6, 2023).

19         17 .       Annexed as Exhibit 15 is a true and correct copy of the

20   article      The     Myth    of   Reverse     Racism,         Alberta      Civil    Liberties

21   Research          Centre,     available     at        https://www.aclrc.com/myth-of-

22   reverse-racism (last visited Oct.                    6,   2023).

23         18 .       Annexed as Exhibit 16 is a true and correct copy of the

24   article Can White People Experience Racism?, The Economist                               (Sept.

25
     AFFIDAVIT OF JOEL KURTZBERG                      4
     Case 2:23-cv-01939-WBS-AC Document 19 Filed 10/06/23 Page 5 of 8


 1   18,          2018),      available          at         https://www.economist.com/open-

 2   future/2018/09/18/can-white-people-experience-racism                                        (last

 3   visited Oct.          6, 2023) .

 4           19.        Annexed as Exhibit 17 is a true and correct copy of The

 5   Harvard Crimson article Who Can be                          'Racist'?, Michelle Gao,        (Aug.

 6   10, 2018), available at https://www.thecrimson.com/column/between-

 7   the-lines/article/2018/8/10/gao-who-can-be-racist/                                (last   visited

 8   Oct.    6,     2023).

 9           20.        Annexed as Exhibit 18 is a true and correct copy of the

10   Yale School of Medicine article, Calling COVID-19 the "Wuhan Virus"

11   or    "China Virus" is Inaccurate and Xenophobic,                              Marlette Vazquez,

12   (Mar.        12,    2020),    available       at       https://medicine.yale.edu/news-

13   article/calling-covid-19-the-wuhan-virus-or-china-virus-is-

14   inaccurate-and-xenophobic/                 (last visited Oct.             6, 2023).

15           21.        Annexed   as    Exhibit    19       is    a   true    and    correct   copy   of

16   Michael Shellenberger’s Testimony to the House Select Committee on

17   the     Weaponization         of     the    Federal          Government,         The   Censorship

18   Industrial Complex: U.S. Government Support For Domestic Censorship

19   And Disinformation Campaigns, 2016 - 2022 (Mar. 9, 2023), available

20   at           https://judiciary.house.gov/sites/evo-subsites/republicans-

21   j udiciary.house.gov/files/evo-media-document/shellenberger-

22   testimony.pdf           (last visited Oct.         6,       2023) .

23           22 .       Annexed as Exhibit 20 is a true and correct copy of the

24   California Assembly Analysis, 2021-22 Sess.                             (AB 587), May 24, 2021.

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     AFFIDAVIT OF JOEL KURTZBERG                        5
     Case 2:23-cv-01939-WBS-AC Document 19 Filed 10/06/23 Page 6 of 8


 1           23.     Annexed as Exhibit 21 is a true and correct copy of the

 2   California       Senate      Judiciary        Committee        Report,    2021-22      Sess.     (AB

 3   587),    July 13,        2021.

 4           24 .    Annexed as Exhibit 22               is   a    true    and correct      copy of a

 5   Tweet by Senator Scott Wiener                   (@Scott_Wiener)          (July 2,   2020,      1:32

 6   PM                          EST) ,                            available                           at

 7   https://twitter.com/Scott Wiener/status/1278743357032812544                                    (last

 8   visited Oct.        6,    2023)

 9           25.     Annexed as Exhibit 23 is a true and correct copy of the

10   press     release        California      Legislators         Introduce Bipartisan         Effort

11   to    Hold     Social     Media      Companies      Accountable        for    Online    Hate    and

12   Disinformation,           Office of Assembly Member Jesse Gabriel                      (Mar.    29,

13   2021), available at https://a46.asmdc.org/press-releases/20210329-

14   california-legislators-introduce-bipartisan-effort-hold-social-

15   media     (last visited Oct.            6,   2023) .

16           26.     Annexed as Exhibit 24               is   a   true     and correct      copy of     a

17   Tweet     by Assembly        Member      Jesse      Gabriel       (@AsmJesseGabriel)           (June

18   14,            2021,             5:37          PM            EST) ,          available           at

19   https://twitter.com/AsmJesseGabriel/status/1404553699502870529

20   (last visited Oct.           6,    2023) .

21           27 .    Annexed as Exhibit 25 is a true and correct copy of the

22   California       Senate      Judiciary        Committee        Report,    2021-22      Sess.     (AB

23   587),    June 28,        2022.

24           28 .    Annexed as        Exhibit 26        is   a   true     and correct      copy of     a

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     AFFIDAVIT OF JOEL KURTZBERG                         6
     Case 2:23-cv-01939-WBS-AC Document 19 Filed 10/06/23 Page 7 of 8


 1   law     review        article   by   Eric   Goldman,          The    Constitutionality           of

 2   Mandating Editorial Transparency,                     73 Hastings L.J.        1203     (2022).

 3           29.     Annexed as      Exhibit 27        is    a   true    and correct       copy of     a

 4   legal article by Daphne Keller,                Platform Transparency and the First

 5   Amendment,        Stanford Cyber Policy Center                (Mar.    3,    2023),    available

 6   at

 7   https://ssrn.com/abstract=4377578 or http://dx.doi.org/10.2139/ss

 8   rn.4377578        (last visited Oct.        6,    2023).

 9           30 .    Annexed as Exhibit 28 is a true and correct copy of the

10   Technology        &    Marketing     Law Blog      article,         Will    California    Clone-

11   and-Revise        Some    Terrible     Ideas     from       Florida/Texas'       Social    Media

12   Censorship Laws?           (Analysis of CA AB 587),                 Eric Goldman       (June 21,

13   2022),                                      available                                            at

14   https://blog.ericgoldman,org/archives/2022/06/will-california-

15   clone-and-revise-some-terrible-ideas-from-florida-texas-social-

16   media-censorship-laws-analysis-of-ca-ab587 . htm                           (last visited Oct.

17   6,    2023) .

18           31.     Annexed as Exhibit 29             is    a   true    and correct       copy of     a

19   press release entitled After Two-Year Fight, Governor Newsom Signs

20   Landmark Social Media Transparency Bill,                       Office of Assembly Member

21   Jesse           Gabriel         (Sept.           13,         2021),          available           at

22   https://a46.asmdc.org/press-releases/20220913-after-two-year-

23   fight-governor-newsom-signs-landmark-social-media                              (last     visited

24   Oct.    6,     2023).

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     AFFIDAVIT OF JOEL KURTZBERG                       7
     Case 2:23-cv-01939-WBS-AC Document 19 Filed 10/06/23 Page 8 of 8


 1   Dated:         New York, NY
                    October L, 2023                       JO   KURTZBERG
 2

 3

 4   Sworn to before me this
     ( day of October, 2023
 5

 6

 7
      otary Public
 8
                      JOSHUA A. ROY
 9            Notary Public, State of New York
                     No. 01R06171076
               ©ualified in New York County .
10            Commission Expires July 23,20      27

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     AFFIDAVIT OF JOEL KURTZBERG                      8
